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Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination



                                       UNITED STATES DISTRICT COURT                                                         kg
                                                                         for the

                                                      ----              District of ----

                                                                ----           Division

                                                                                                  1 :22-cv-02869
                                                                           )
                                                                           )
                                                                                           Judge Robert W. Gettleman
                                                                                          Magistrate Judge Maria Valdez
                                                                           )
                              Plaintiff(s)                                                           RANDOM
(Write the fit/I name of each plaintiff who is filing this complaint.      )
If the names of all the plaintiffs cannot fit in the space above,          )       Ju1y   111<11.    rcnectcone)   LJYes LJNo
please write "see attached" in the space and attach an additional          )
page with the full list of names.)
                                 -v-                                       )
                                                                           )




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                                                                           )
                                                                           )                        RECEIVED
                                                                           )
�t�n                                                                       )
                                                                           )
                                                                                                             JUN O 1 2022 cf;'\
(Write the.fit/I name of each defendant who is being sued. If the                                     THOMAS G. BRUTON
                                                                           )
names of all the defendants cannot.fit in the space above, please                                   CLERK, U.S. DISTRICT COURT
write "see attached" in the space and attach an additional page            )
with the full list of names.)



                              COMPLAINT FOR EMPLOYMENT DISCRIMINATION

I.         The Parties to This Complaint
           A.        The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                                Name
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number                        71'3-WsLJ-C/1CfZ
                                E-mail Address                          z.ea ,ncui@ � l. earn
           B.         The Defendant(s)

                      Provide the infonnation below for each defendant named in the complaint, whether the defendant is an
                      individual, a government agency, an organization, or a corporation. For an individual defendant,
                      include the person's job or title (ifknown). Attach additional pages if needed.

                                                                                                                                  Page I of 6
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                     Defendant No. I
                               Name
                               Job or Title ftf hown)
                               Skeet Address
                               City and County
                               State and    Zip Code
                               Telephone Number                  aoK- qq7-   qot?       _
                               E-mail Address (if known)


                     Defendant No. 2
                               Name
                               Job or Title (if known)
                               Street Address

                               City and County
                               State and    Zip Code
                               Telephone Nurnber
                               E-mail Address (if known)


                     Defendant No. 3
                               Name
                               Job or Title gf known)
                               Street Address

                               City and County
                               State and    Zip Code
                               Telephone Number
                               E-mail Address (if known)


                     Defendant No. 4
                               Name
                               Job or Title (if loown)

                               Street Address

                               City and County
                               State and    Zip Code
                               Telephone Number
                               E-mail Address       (tf known)




                                                                                              Page 2   of   6
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          C.         Place of Employment

                     The address at which        I sought employment or was employed by the defendant(s)              is


                               Name
                               Street Address

                               City and County
                               State and    Zip Code
                               Telephone Number


IL        Basis for Jurisdiction

          This action is brought for discrimination in employment pursuant to           (check   all that apply):


                                 Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. $$ 2000e to 2000e-17 (race,
                                 color, gender, religion, national origin).

                                 (Note: In order to bring suit infederal district court under Title VII, you mustfirst obtain a
                                 Notice of Right to Sue letterfrom the Equal Employment Opportunity Commission.)

                                 Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C. $$ 621 to 634.


                                 (Note: In order to bring suit infederal district court under the Age Discrimination in
                                 Employment Act, you mustfirstfile a charge with the Equal Employment Opportunity
                                 Commission.)


                                  Americans with Disabilities Act of 1990, as codified, 42 U.S.C. $$            l2l   12   to l2ll7   .




                                 (Note: In order to bring suit in federal district court under the Americans with Disabilities
                                 Act, you mustfirst obtain a Notice of Right to Sue letterfrom the Equal Employment
                                 Opp ortunity Commis sion.)


                                  Other federal law gpeci/y       the   federal law):



                                  Relevant state law      (spectfy, if known)'.




                                  Relevant city or county law (specify, if known):




                                                                                                                                          Page 3   of   6
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III.      Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
          the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
          write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

          A.         The discriminatory conduct of which I complain in this action includes                                @heck   all that appty):


                           tr             Failure to hire me.

                           tr             Termination               oI   my employment.

                           Z/
                           fltr
                                          Failure to prornote me.
                                          Failure to accommodate my disability.
                                          Unequal terms and conditions of my employment.
                                          Retaliation.

                           "w             other acts (specirv):
                                                                                         Ntbhda ruu c Xe& Af..a ld@d                                     Dw*t
                                          (Note; Onl.v those grounds raised in the chLlge filed with the Equal Employment /
                                          Opportunity Commission can be considered by the federal district court under the y!
                                         fe   dera   t   e   m p t o 1, m   e   n   t   0,,#K1W,,,,AA*$A                     ourd.4,                  MJ<d
                                                                                                                                           1_,,-
        B,

                   tWc,Ltiuzz
                     It is my best recollection that the alleged discriminatory acts o..u,l.d on date(p)
                                                                                                                                   Wffi{o*
                                                                                                                                        $N'q-%                   ^




                     I believe
        C.
                                 fit   defendant(s)            (check one):

                           W              is/are still committing these acts against me.

                           f]             is/are not still committing these acts against me.


        D.           Defendant(s) discriminated against me based on my                          (check   all that apply and explain):

                            tr            race

                            tr            color
                            tr            gender/sex

                            tr            religion
                            tr            national origin
                            Zt             age (year ofbirth)                                 (only when asserting a claim of age discrimination.)
                            V             disability or perceived disability                 (specifu disability)




        E.           The facts of my case are as follows. Attach additional pages                           if   needed.




                                                                                                                                                        Page 4   of   6
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                    (Note: As additional supportfor thefacts of your claim, you may attach to this complaint a copy of
                    your chargefiled with the Equal Employment Opportunity Commission, or the chargefiled with the
                    relevant state or city human rights division.)


IV.     Exhaustion of Federal Administrative Remedies

        A.           It is my best recollection that I filed with the Equal Employment Opportunity Commission or
                                                                a charge
                     my Equal Employment Opportunity counselor regarding the defendant's alleged discriminatory conduct
                     on   (date)




        B.                 EqualJ
                             V            has not issued a Notice of Right to Sue letter.

                             tr           issued a Notice of Right to Sue letter, which I received on   (date)

                                          (Note: Attach a copy of the Notice of Right to Sue letterfrom the Equal Employment
                                          Opportunity Commission to this complaint.)


        C.           Only litigants alleging age discrimination must answer this question.

                     Since filing my charge of age discrimination with the Equal Employment Opportunity Commission
                     regarding the defendant's alleged discriminatory conduct (check one)'.


                             n            60 days or more have elapsed.

                             tr           less than 60 days have elapsed.


v.      Relief

        State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
        arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include the
        amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any punitive
        or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive
        money damages.

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VI.     Certification and Closing

        Under Federal Rule of Civil Procedure I 1, by signing below, I certify to the best of my knowledge, information,
        and belief that this complaint: (l) is not being presented for an improper purpose, such as to harass, cause
        unnecessary delay, or needlessly increase the cost oflitigation; (2) is supported by existing law or by a
        nonfrivolous argument for extending, modiffing, or reversing existing law; (3) the factual contentions have
        evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
        opportunity for firther investigation or discoveryi and (a) the complaint otherwise complies with the
        requirements of Rule 1 1.



         A.          For Parties Without an Attorney

                     Iagree to provide the Clerk's Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.


                     Date of signing:


                      Signature of Plainti

                     PrintedName of Pl


         B.           f,'or Attorneys


                      Date of signing:


                      Signature of Attorney
                      Printed Name of Attorney
                      Bar Number
                      Name of Law Finn
                      Street Address

                      State and   Zip Code
                      Telephone Number
                      E-mail Address




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